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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,          )
                                   )
          Plaintiff,               )
                                   )          CR No. 22-00409
                                   )          Washington, D.C.
       vs.                         )          February 7, 2023
                                   )          5:17 p.m.
ERIC DOUGLAS CLARK,                )
                                   )
          Defendant.               )
___________________________________)


    TRANSCRIPT OF STATUS CONFERENCE VIA ZOOM PROCEEDINGS
             BEFORE THE HONORABLE AMIT P. MEHTA
                UNITED STATES DISTRICT JUDGE


APPEARANCES:

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1                          P R O C E E D I N G S

2               COURTROOM DEPUTY:     Good afternoon, Your Honor.

3    This is Criminal Case No. 22-409, United States of America

4    versus Eric Douglas Clark.

5               James Peterson, Eric Boylan, and Emily Miller for

6    the government.

7               Mr. Clark is representing himself as a pro se

8    defendant with John Machado as standby counsel.

9               The defendant is appearing via videoconference for

10   these proceedings.

11              THE COURT:    Okay.   Good afternoon, everybody.

12   Mr. Clark, good afternoon to you.

13              All right.    So we are back here to try and sort of

14   moving things forward in terms of giving Mr. Clark access to

15   the databases and what the best way forward is in terms of

16   trying to accomplish that objective, to the extent he needs

17   to.

18              So, Mr. Peterson, I see Ms. Miller is here, so why

19   don't we start with her.

20              Hi, Ms. Miller.

21              MS. MILLER:    Good evening, Your Honor.       I'm sorry

22   to see you having hearings at 5:15 at night.         This does not

23   bode well.

24              THE COURT:    They happen at every hour of the day.

25              MS. MILLER:    Yeah, the wheels of justice never
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                                                                         4

1    stop.

2               So the bottom line, having reviewed the entire

3    record and discussed it with counsel and my supervisors is,

4    based on everything I'm seeing, I'm not seeing a way that

5    the government can agree to give this defendant access to

6    either database, and I would instead propose that we move

7    forward by just doing a more traditional case-specific

8    discovery, and the prosecutors will respond to

9    individualized relevant discovery requests in the ordinary

10   course.

11              And I'm not trying to be inflexible, but I wanted

12   to lay out for the Court my reasoning, rather than --

13   I thought you'd prefer to have the position and then the

14   reasoning than the long buildup.       So I started with the

15   conclusion.

16              THE COURT:    It's good to start with the bottom

17   line.

18              MS. MILLER:    But this is how I got there and why.

19              First of all -- and forgive me if I'm long-winded.

20   You know, I've never been short for words, so I apologize

21   again in advance.

22              But the defendant in this case has refused to sign

23   attachment A to the protective order.        It was signed by his

24   original attorney back on July 7, 2021, that was ECF No. 13.

25   But as acknowledged in the assigned prosecutor's opposition
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1    to his motion to compel discovery, not only has he not

2    signed it, but he has essentially announced through social

3    media to the world that he is not subject to it, as sort of

4    a Badge of Honor and a means by which he can say, I could

5    disclose discovery because I'm not subject to the protective

6    order.   That's point number one.

7               Point number two is, over one year ago, the

8    defendant was cautioned that -- and not just -- all

9    defendants were cautioned in a status memorandum that was

10   filed with the Court, that if they decided to proceed pro

11   se, they would not get access to the government's discovery

12   databases.   And that is ECF No. 30 in this case; it was

13   filed on February 23, 2022.

14              And as laid out in pretty good detail therein,

15   Evidence.com, as this Court is aware, contains videos that

16   the U.S. Capitol Police deemed highly sensitive.          It also

17   contains, although we've really tried not to mark body-worn

18   camera footage sensitive, some body-worn camera footage

19   that's sensitive, including where subjects are being asked

20   for personally identifying information and they're providing

21   it over video.

22              Relativity, as I stated in that memo over a year

23   ago, even then contained extensive, highly sensitive

24   materials, such as allegations about officers' use of force

25   or purported complicity with rioters, even when it's not
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1    sustained, as well as camera maps for the U.S. Capitol,

2    which the U.S. Capitol police are particularly sensitive

3    about us having disclosed at all, much less being handed to

4    defendants in these cases.

5               Since the time of those memos, the sensitive and

6    highly sensitive materials in the database that have -- the

7    Relativity database has grown extensively.         It now contains

8    over 7.3 terabytes of information, most of which is not

9    likely to be relevant to the defendant's case, though it was

10   provided to defense counsel so that they could perform

11   searches for materials they deemed potentially relevant.

12              Those materials include over 4,500 FD-302s, which

13   are the FBI interview documents; they're not redacted.             They

14   contain people's names and phone numbers, addresses, other

15   personal identifying information.       There's over 149,000

16   tips.   There are search results from over 750 digital

17   devices and 400 stored Communications Act accounts and over

18   350 recording of interview subjects.

19              And notably, that information may pertain to

20   people who've never been charged and who have real concerns

21   about their privacy rights.      Not their privacy rights, I

22   don't tell to say it that way because the Court's order can

23   deprive them of their privacy rights, but who have a

24   legitimate privacy interest in this material that should be

25   balanced against the defendant's need for the materials.
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1               So in any event, like I said, this defendant was

2    warned a year ago that if he went pro se, for all those

3    reasons, he was going to have to work with standby counsel

4    to get access to the materials in the database; and further

5    that with respect to highly sensitive documents, standby

6    counsel was still going to have to supervise the defendant,

7    unless on a particular document, he and the prosecutor could

8    work out a suitable compromise or this Court ordered

9    otherwise.

10              Since that time, as I understand from the

11   government's opposition to his motion to compel, he has

12   posted on social media, like I said, that he is not subject

13   to the protective order, but, further, as I think is shown

14   in that memo, that he wants to find a way to provide

15   materials to David Sumrall.      David Sumrall is a

16   self-described citizen journalist who operates a website

17   called Stop Hate.

18              We have reason to believe that in his role as a

19   citizen journalist, Sumrall has previously been involved in

20   the disclosure of protected materials from protected -- from

21   databases in this case; specifically in the case of Jeffrey

22   McCalla, there was a dissemination of the contents of the

23   Department of Corrections video repository for Evidence.com.

24   The way that that occurred, based on a review of Jeffrey

25   McCalla's text messages, is that through an intermediary in
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1    about April of 2022, McCalla gave Sumrall access to the

2    entire contents of the database, and then Sumrall began

3    releasing those contents on his Stop Hate website.          And

4    I can provide copies of those text messages to the Court if

5    you would like to see them.

6               We understand --

7               THE COURT:    Ms. Miller, I'm sorry to interrupt,

8    but can I ask a quick question and maybe we can sort of get

9    to the bottom line at the moment.

10              But in terms of CJA investigators, are there CJA

11   investigators who are cleared who have signed the protective

12   order and have access to the databases?

13              MS. MILLER:    So the way that it has --

14              THE DEFENDANT:     Your Honor, if I may?

15              THE COURT:    Hang on, Mr. Clark.

16              Go ahead, Ms. Miller.

17              MS. MILLER:    The way that it has worked so far is

18   that attorneys can get licenses for their team members,

19   provided the protective order is met.        So -- and that would

20   be true for standby counsel as well.

21              But I have some very specific concerns in this

22   case, which is what I was about to get to, which is that --

23              THE COURT:    That's why I was asking whether we

24   have already cleared CJA, as opposed to somebody that we

25   might seek to identify and appoint who hasn't yet been
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1    cleared.

2               MS. MILLER:    And so there's no clearing process.

3    In general, the idea is we trust attorneys as officers of

4    the court to employ legitimate people who will follow the

5    terms of a protective order and comply with it.

6               But in this case, my concern is that after getting

7    the contents of Evidence.com and disseminating them -- and

8    I can't -- I say that with -- based on my review of the text

9    messages and some initial reviewing of David Sumrall's

10   website.   So I don't want to say I have a case beyond a

11   reasonable doubt here, but I have very good reason to

12   believe that that's what Mr. Sumrall did.         And then a month

13   or two later, he got an investigator's license.

14              And so as you can imagine, I am very concerned

15   that the defendant's true intent here, based on what he has

16   on social media, based on his attempts -- his refusal to

17   comply with the protective order, his searching for David

18   Sumrall, David Sumrall's sudden interest in turning from

19   citizen journalist into criminal investigator in terms of

20   the January 6th cases, there's a real concern that the goal

21   here is to take protected materials and disseminate them

22   into the public sphere.

23              And that's not just video now, it's a lot of these

24   very sensitive materials that are in Relativity, including

25   things like this defendant is demanding, like files
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1    pertaining to Ray Epps, who's already been subject to a lot

2    of harassment based on conspiracy theorist beliefs that he

3    is an agent provocator, cooperator, or something like that

4    in these cases.

5               THE COURT:    Okay.

6               Okay.

7               That's all very helpful, Ms. Miller.         I appreciate

8    you laying all of that out, because those are important

9    countervailing considerations that I have to think about.

10              Mr. Clark, do you wish to be heard?

11              THE DEFENDANT:     Most definitely, Your Honor.

12              I would like to touch on all the points that

13   Ms. Emily had brought up.

14              First off, I'd like for the prosecution to show

15   these posts, right, to show these posts that I made and to

16   let the courts know by what means they obtained them and

17   whether they have warrants, too, because she can only be

18   referring to one private message through Telegram, where I

19   asked Mr. Sumrall if he would be interested in helping as a

20   pro se investigator if I were to go pro se.

21              Mr. Sumrall has ran Stop Hate since 1992.

22   So his assumption that his investigatory intent is new is

23   unfounded, right.     He's been running this investigative

24   journalist site since 1992.

25              He has, in fact, already signed the protective
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                                                                            11

1    order that you're talking about.

2                And he has, in fact, already been given access to

3    this database in the defense of other clients, as Ms. Miller

4    mentioned herself, Mr. McCalla, who was given full access to

5    this database.

6                And the mentions they would make reference to are

7    mentions where people have reached out to me for footage

8    because I've reviewed more than 150 to 200 hours' worth of

9    publicly available footage through YouTube archives, Parler

10   archives, these sedition hunter websites.         And it's public

11   footage, so I've had no problem disseminating it.           And when

12   people ask me for, hey, have you seen this, hey, I was here,

13   can you get me this footage.       It's public footage, I'm

14   perfectly within my right to give them footage that I found

15   publicly.

16               I have no intent on disseminating anything that

17   would be illegal for me to disseminate.         I would argue the

18   sensitive and highly sensitive nature of the footage being

19   arbitrary at this point, as there have been anywhere from

20   ten seconds to three minutes of this footage from more than

21   50 of the different cameras already released publicly, which

22   go full well to the argument that the prosecution would make

23   that this would somehow threaten national security by

24   placement of cameras.      I would argue that ten seconds of

25   footage for a camera can just as easily give away a camera's
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1    location as the full day, right?

2               And the fact that they are willing to give private

3    attorneys access to this full discovery but now they're

4    reluctant to give it to pro se defendants because of the

5    action of one David Sumrall and Jeffrey McCalla, who, by the

6    way, was not held in contempt for violating the protective

7    order that he signed on this release of body cam footage

8    that I would like the Court to also enter on the record;

9    they're going to bring it up.

10              So if there have been no accusations of wrongdoing

11   on the behalf of David Sumrall by these courts, why would

12   they use this against me for looking for a competent

13   investigator on my own behalf?

14              THE COURT:    So, Mr. Clark, if I could just make

15   the following observations and then we can, I think, try and

16   bring this --

17              THE DEFENDANT:     One more quick point, Your Honor.

18              She mentions Ray Epps and conspiracy theorists and

19   what she believes from the little access she has or is

20   willing to divulge.

21              But I had an encounter myself with Mr. Epps

22   across -- atop the Capitol steps, where he told me in no

23   uncertain terms that this was pre-planned and that it

24   involved precise timing.      He corroborated with three other

25   individuals that went to an unsecured hash that lead to wet
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1    wall access to the Capitol building.

2               I encountered another girl known as Emily of

3    Knoxville through much Facebook footage, who had separated

4    me from the crowd of people that initially breached the

5    Capitol with use of an onion, she used an onion to make

6    herself cry.

7               And these all point to pre-planning, to

8    corroboration.    And to fully present my case to the court,

9    I'm going to need full access so that I can hunt down these

10   cooperators' full intent, their full, you know, path through

11   the Capitol and through the grounds that day, as well as

12   these individuals' communications and what have you.

13              And all that being said, I have no intention on

14   releasing any tax information, bank information, Social

15   Security numbers.     Even though prosecution has, in their own

16   discovery, sent to me unredacted Social Security numbers

17   already in a not very secure platform via Gmail.           I mean, so

18   they broke their own concerns in their --

19              At this point, Your Honor, at this point,

20   Your Honor, if you don't give me access to this footage,

21   I will just have to appeal it to another court, right,

22   because I'm not going to stipulate I'm going to waive my own

23   rights on any grounds.

24              THE COURT:    Okay.

25              So, Mr. Clark, here's where we are.         You have thus
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1    far not agreed to sign the protective order, which limits

2    the use of the information on the databases, and so that's

3    the jumping-off point for the difficulty we find ourselves

4    in.

5               All that said, it is abundantly clear to me, based

6    upon the case law that we've looked at, that pro se

7    defendants do not have an absolute right to access discovery

8    under whatever terms they believe are appropriate in the

9    same manner that a lawyer would.

10              The Supreme Court has said in United States versus

11   Ruiz that "there's no general constitutional right to

12   discovery in a criminal case."

13              And our Circuit in a case called U.S. v. Bisong,

14   B-i-s-o-n-g, said that -- held that essentially the district

15   court had not abused its discretion in limiting access to --

16   by putting some limitations on access to materials,

17   discovery materials, so long as those materials were

18   available to standby counsel and that the defendant was

19   certainly made advised about the availability of the records

20   and had the ability to access them through standby counsel.

21              The Fourth Circuit has taken a similar approach in

22   United States versus Galloway, 749 F.3d at 238.          Again,

23   another case in which the Court has found limitations to be

24   appropriate.

25              There are a number of countervailing
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1    considerations here that I have, I think, are valid and

2    legitimate in terms of the government's concerns about

3    unfettered access by Mr. Clark to the databases.

4               I'll simply just summarize what Ms. Miller has

5    said and adopt what she has said as my own reasoning, in

6    large part because, one, there is a great deal of sensitive

7    material in the databases, both in terms of security

8    footage.

9               Now, some of it, you're right, Mr. Clark, has been

10   publicly disclosed in trials and in other ways, but,

11   nevertheless, undoubtedly there still remain other videos in

12   that database of which there are thousands of hours of

13   video, CCTV video, that has not been disclosed to the public

14   and still remain designated as highly sensitive.

15              There also if a fair amount of information in

16   those databases concerning people's personal information and

17   personal identifying information.        And, frankly, more

18   significantly or as significantly, there's a fair amount --

19   there's an extraordinary amount of information about the

20   government's investigation into people who have not been

21   arrested, people who are simply subjects, or, importantly,

22   people who are simply with.       And so those folks have a

23   substantial privacy interest in ensuring that that

24   information is protected in an appropriate manner and not

25   publicly disseminated.
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1               Now, Mr. Clark has said that he is not -- it is

2    not his intention to publicly disclose this to Mr. McCalla.

3    I take him at his word; however, whatever social media

4    postings he has made are of some concern.         I haven't seen

5    the actual social media postings.        But to the extent he's

6    suggesting he's not subject to the protective order, that

7    may be because he hasn't signed it yet.         And so if he had

8    signed it, then he certainly would be.         And my concern is

9    that he is not prepared to sign it and abide by its terms,

10   and I think there's some risk there of his not treating the

11   material appropriately if he were to have unfettered access

12   in the way that he has described.

13              I think it's appropriate that we have standby

14   counsel; Mr. Machado remains as standby counsel.

15   Mr. Machado has access to the databases.         Mr. Machado

16   undoubtedly has access to an investigator that he could tap

17   to run searches on the databases.

18              Is that accurate, Mr. Machado?

19              MR. MACHADO:     Yes, I can make that happen,

20   Your Honor.    I do not currently have one involved in this

21   case, but I can go through the process.

22              THE COURT:    Okay.

23              So we can go through the process of having an

24   investigator available to Mr. Machado, who can run any

25   searches or look for any evidence that Mr. Clark believes
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1    might be useful to his defense.       He can describe that

2    material for Mr. Machado or the investigator that is

3    supervised by Mr. Machado and identify any potential

4    evidence that might be relevant.

5                All that said, given Mr. Clark's disinclination,

6    if not outright refusal, to sign the protective order, if he

7    does instruct Mr. Machado or an investigator to identify

8    things and those things are identified, they can be shared

9    with Mr. Clark remotely.      But until he is prepared to sign a

10   protective order or I'm satisfied that the material that is

11   at issue is not highly sensitive or sensitive, then it's not

12   material that he will be able to physically possess.

13               He has the case-specific material that is

14   available to him.     And to the extent that there are searches

15   he'd like to have done on the databases, if any of those

16   searches produce information, he can review them with the

17   assistance of Mr. Machado or an investigator, but I'm not

18   going to permit him to have physical or direct electronic

19   access to that material, okay?

20               So that'll be the terms under which Mr. Clark can

21   have access to those databases, and I think the question for

22   us now is where we go from here.

23               The case has been pending for some time.

24               Can you, Mr. Peterson, remind me of what the lead

25   count is?
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1               MR. PETERSON:     Yes, I think it's a misdemeanor.

2    They're two misdemeanors of -- Class A misdemeanors, sir,

3    Your Honor, of entering a restricted area, as well as

4    disorderly conduct in a restricted area.         They're both Class

5    A misdemeanors.

6               He's also charged for with the two, for lack of a

7    better word, the standard Class B misdemeanors of 5104.

8               THE COURT:    All right.     So he has two

9    jury-demandable offenses.

10              And so the question is, Mr. Clark, it sounds like

11   you'd like to have a trial.       I think the question is how

12   much time you need to prepare for such a trial and then when

13   we can get you on the trial calendar.

14              THE DEFENDANT:     Well, I think what Mr. Machado

15   probably has a couple hours available a week, divided by

16   14,000 hours of footage to go through.         I think that

17   probably in about 15 years, if I'm given fair time with

18   discovery with these stipulations.

19              THE COURT:    So, Mr. Clark, I'll give you a

20   reasonable time to work with Mr. Machado.         15 years is not

21   within the ballpark of reasonableness.

22              So if you would give me a time, whether it's

23   30 days, 60 days, 90 days, I'm happy to consider it.           But --

24              THE DEFENDANT:     Well, I'm at the discretion of

25   Mr. Machado's availability, so I really can't say that I can
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1    be ready in 70 days or 70 years if the time is not given to

2    me, right?

3               If I'm able to sit down in Zoom meetings with

4    Mr. Machado and go through my course of the day and then

5    backtrack all these different persons' tracks, right?

6               First my case is entrapment to the government.

7    Then I'm being robbed of my opportunity to defend myself

8    through these forced stipulations and the waiving of my

9    rights.

10              THE COURT:    So, Mr. Clark, I am simply -- first of

11   all, you are right that, given your decision to proceed pro

12   se, you are somewhat at the behest of Mr. Machado's

13   schedule, and I know how busy he is.        And so this is one of

14   the disadvantages of proceeding pro se, is that you do not

15   have a lawyer who has direct access to the databases and you

16   are consequently at -- you are at a disadvantage, because

17   Mr. Machado is a busy man.

18              Now, all that said, Mr. Clark, I'm prepared to set

19   a certain amount of time, and if we get to that date and you

20   tell me you need more time, I'm prepared to consider it.

21   But right now, let's at least establish a time horizon by

22   which you think you can possibly be ready at least to set a

23   trial date.

24              So how about 60 days, Mr. Clark?        And then we will

25   see where we are at that point, and then determine whether
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1    you're ready to set a trial or whether we need some

2    additional time for you to continue your preparations?

3               THE DEFENDANT:     Certainly.    I guess you want to

4    set this forward another 60 days.

5               Are we going to consider the other three motions I

6    filed today as well or defer it to the magistrate?

7               THE COURT:    I haven't seen those motions.        And so

8    I'll have to take a look at the docket, see what those

9    motions are requesting, and provide the government an

10   opportunity to respond to them as well, okay?

11              MR. MACHADO:     Your Honor, just so we're clear,

12   I want to make sure that we're kind of going in the same

13   direction.

14              It appears that the Court is suggesting that I,

15   through CJA, obtain an investigator in order for -- and

16   someone who would be willing to abide by the terms of the

17   Consent Order in order to be able to show these items to

18   Mr. Clark; that it isn't the Court's intention for me to be

19   basically going through all the videos with him.           Am I

20   correct in understanding that?

21              THE COURT:    That's correct, Mr. Machado.

22              I mean, the bottom line is, I'm asking you to take

23   on some supervisory assistance here or provide some

24   oversight assistance.

25              MR. MACHADO:     Sure.
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1               THE COURT:    And, yes --

2               THE DEFENDANT:     Your Honor, David Sumrall, already

3    being a CJA-licensed investigator in these matters, at my

4    behest, can take over for John Machado in those

5    investigative regards.

6               I do at least have the ability to hire my own

7    investigators, ones that have already been licensed and have

8    signed the protective orders.       Wouldn't that be fair?

9               THE COURT:    It would depend on who the person is,

10   and I'm not sure I'm prepared to do that just yet.

11              THE DEFENDANT:     David Sumrall would be who the

12   person is.

13              THE COURT:    So based on what Ms. Miller has told

14   me about Mr. Sumrall, I'm not inclined to have him serve in

15   that capacity.

16              If Mr. Machado -- I'm more inclined to have

17   somebody that he knows and somebody he has worked with, both

18   in January 6th and other types of cases and who understands

19   how to use the database and can be trusted to follow the

20   restrictions not only in the protective order but the

21   limitations I've placed on access to that material by

22   Mr. Clark, okay?

23              So let's set --

24              THE DEFENDANT:     Can I just make sure I understand

25   this all real quick, your Honor?
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                                                                         22

1               THE COURT:    Sure.

2               THE DEFENDANT:     So because I'm pro se and because

3    I want to use David Sumrall as my investigator, I'm being

4    denied the same access that other -- both private attorneys

5    and pro se defendants have already been given, based on

6    evidence that has not been entered in the record, no such

7    posts have been entered onto the record that claim this

8    right, just hearsay and allegations, no such video that

9    discredit David Sumrall has been entered into the record.

10   This is all just purely based on bias for the prosecution,

11   if I'm correctly hearing this; is that right, Your Honor?

12              THE COURT:    I wouldn't quite describe it in that

13   way, Mr. Clark.

14              Ms. Miller is on officer of the court, and she has

15   made certain representations that I've accepted.

16              But, more importantly, I don't know who

17   Mr. Sumrall is.     And, frankly, I am prepared to allow you

18   access to the databases, again, through Mr. Machado, with

19   him acting as standby counsel and functioning in an

20   oversight supervisory manner with respect to an investigator

21   that he knows, he's worked with or has had access to the

22   databases, is prepared to abide by the terms of the

23   protective order and also the Court's limitations on access

24   by the defendant, okay?

25              MR. MACHADO:     Your Honor, just one additional
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                                                                         23

1    thing.

2               I don't know what Mr. Clark's intention is with

3    regard to the investigator, whether he would want someone

4    from his location in Kentucky, and I'm wondering if the

5    Court is amenable, if I'm able to reach a CJA attorney

6    there, or someone who practices there, who has an

7    investigator that they work with that I might be able to go

8    through that investigator, basically, getting sufficient

9    references that I'm comfortable with so that Mr. Clark can

10   go there and spend as many hours as he wants with the

11   investigator in person if he wishes.        Is that -- would that

12   be acceptable for the Court or an option that the Court is

13   amenable to?

14              THE COURT:    I would consider it.

15              MR. MACHADO:     Okay.

16              THE COURT:    Depending on who the investigator is,

17   whether that person, again, is prepared to sign off on the

18   protective order, and understand, importantly, what the

19   restriction are, and, again, has the bona fides of the type

20   that I'm talking about that you understand.

21              MR. MACHADO:     Well, I'll speak to Mr. Clark about

22   his preferences.     And I'll let the Court know obviously --

23   I'll be submitting it to the Court, and I can explain in

24   the -- within the CJA program, the voucher program, to let

25   the Court know what I know of this person.
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                                                                         24

1               THE COURT:    I mean, I would feel more comfortable

2    if whoever the Federal Public Defender is in that

3    jurisdiction can sponsor the person.

4               THE DEFENDANT:     Your Honor, I would prefer not

5    being put right back with the same public defender I just

6    had to fire, because he refused to file any motions on my

7    behalf.

8               At this point, it seems like the Court is

9    intentionally trying to steamroll me.

10              THE COURT:    So, Mr. Clark, that's not what I said.

11   I'm not talking about a public defender.         Mr. Machado is

12   simply proposing that an investigator be someone who is in

13   geographic proximity to where you are.         And all I simply

14   said was that I would feel more comfortable with that person

15   if that person was vouched for by the Federal Public

16   Defender in the jurisdiction where you are.

17              MR. MACHADO:     Yes.

18              And, Your Honor, just to be clear, I understand

19   Mr. Clark's frustration; it is a legitimate one.           And so

20   I will work with him to make sure that he's comfortable, if

21   we get someone from Kentucky, that he understands that won't

22   be straight from the Public Defenders but probably most

23   likely, yes, someone recommended from a CJA attorney of some

24   repute there.    Thank you.

25              THE COURT:    Okay.
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                                                                         25

1               All right.    So let's just set this down for

2    another hearing about 60 days out.        Why don't we just

3    tentatively say at 1:30 on April the 7th.

4               And, did we lose -- there he is.        Mr. Clark just

5    moved squares; that's why I didn't see him.

6               Mr. Clark, will you consent to the exclusion of

7    time through April the 7th?

8               THE DEFENDANT:     I do not, Your Honor.

9               THE COURT:    Okay.

10              So if you're not consenting, Mr. Clark, I will

11   exclude time on my own motion so that you are afforded

12   sufficient time to work with Mr. Machado and an investigator

13   to identify the material that you think will be helpful to

14   the preparation of your defense, and I think a period of

15   60 days to exclude is warranted.

16              If you are disinclined to continue to oppose

17   extensions of time or exclusions of time, I should say, the

18   next time we're together, Mr. Clark, odds are we'll set a

19   trial date, okay?

20              All right.    Thank you, all, very much.

21              MS. MILLER:     Thank you, Your Honor.

22              Did you want me back at that hearing?

23              THE COURT:    No, Ms. Miller, I don't think you need

24   to be there.    But thank you very much for your time, and I

25   appreciate it.
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1               (Proceedings concluded at 5:50 p.m.)

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                       C E R T I F I C A T E
                 I, William P. Zaremba, RMR, CRR, certify that
the foregoing is a correct transcript from the record of
proceedings in the above-titled matter.
                 Please note: This hearing occurred during
the COVID-19 pandemic and is therefore subject to the
technological limitations of court reporting remotely.




Date:__March 4, 2023________ ____________________________
                                   William P. Zaremba, RMR, CRR
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